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CR NO. 04-30003-MAP

RAYMOND SHAVER,

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- against - ]
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Det'endant.

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STATUS R.EPORT

The defendant, Raymond Sh.aver, by his attorney, Lori H. l_,evinson, hereby

submits the following status report

1.

I have now received copies of all of the discovery provided to my
predecessor co'unsel, Jonathan Eiliot.
_I have also received from the government a copy of the transcript of the

`R‘ule 1] hearing conducted by this Cour_t on Novernber 15, 2004.

. I have reviewed the transcript and a significant portion of the discovery.

I have also consulted with my client on two occasions

Having reviewed the above-mentioned materials and having consulted With
the defendant, I can state that we do anticipate filing a Motion to Withdraw
Guiity Plea.

With the Court’s permission, we request a filing deadline of August 12,

2005 for the filing of Such Motion.

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Respecti`ul]y submitted,

RAYMOND SHAVER
By His Attorney

BBO#566685

CAIN` l-IIBBARD MYERS & COOK_, P.C.
66 West Street

Pittsfield, .MA 01201

(413) 443-4771

 

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CERTIFI CA TION

I hereby certify that a copy of the within was sent by facsimile and mailed to:

Elizabeth French, C.lerk
Unitecl States Distn'ct Court
1550 Main Street
Springfie]d, N[A 01103

Todd Newhouse, AUSA
1550 Main Street
Springfield, MA 01103

¢.

 

Lori H , Levinson

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